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                                   EXHIBIT 3
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     10/26/22, 11:56 AM                                                             Ruling sends team packing - The Daily Illini




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  Ruling sends team packing




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                                                                                                                       Kofi Cockburn agrees to professional


  BY AMBER GREVISKES                                                                                                   contract with Japanese basketball club


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                                                                                                           (https://dailyillini.com/sports-

MAY 9, 2006                                                                                                stories/2022/10/22/kofi-cockburn-


                                                                                                           player-contract-japanese-basketball-

The match against Iowa was not supposed to be the Illinois men’s tennis                                    club/)


team’s last home match.
                                                                                                             2
Seniors Pramod Dabir and Ryler DeHeart are frustrated and
disappointed. They knew their Senior Night celebration was the
symbolic end of their collegiate careers on their home courts at the
Atkins Tennis Center.

But the thought of moving on and leaving their supportive, inspiring                                       RSO treasurer accused of stealing over


fans had not really registered. After all, they were planning on hosting                                   $10,000 from club bank account



the first two rounds of the NCAA Championships.                                                            (https://dailyillini.com/news-


                                                                                                           stories/champaign-



They expected to host the Regional Championships because they have                                         urbana/2022/10/19/rso-treasurer-


                                                                                                           stealing/)
their entire collegiate career and because Illinois has hosted the Regional
Championships for the last seven years.                                                                      3

But the NCAA had other ideas.



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                                                                                                             4


On April 28, the NCAA ruled that Illinois would remain on the list of
schools with “hostile and abusive” American Indian imagery. Chief
Illiniwek is part of an 80-year-old tradition. The Chief performs at
halftime of football games and men’s and women’s basketball and
volleyball games.

The Illinois men’s tennis team will now head to Louisville for the first                                   Opinion | Bielema’s extravagant salary is


                                                                                                           unjustifiable

 https://dailyillini.com/sports-stories/2006/05/09/ruling-sends-team-packing/#                                                                    2/5


                                                                                                                        Exhibit 3 - Page 2 of 5
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                                                                                                           unjustifiable

round of the NCAA Championships where they will take on Western                                            (https://dailyillini.com/opinions-


Illinois, the Mid-Continent Conference’s automatic bid.                                                    stories/2021/11/24/opinion-bielemas-


                                                                                                           extravagant-salary-is-unjustifiable/)


“The Board of Trustees really needs to get its act together and figure this
out,” said Illinois junior GD Jones of Auckland, New Zealand. “Coming                                        5

from a country where there is no college athletics, I think it is absurd
that so much emphasis and debate is placed upon a mascot.”

Jones and the majority of the Illini said they do not have a problem with
the Chief, but feel that the NCAA’s ruling is unfair.

“This is an issue that has not yet been resolved within the campus
community,” Jones said. “It is a real shame that the athletic department
and in particular, the athletic director Ron Guenther should be in the
situation that he is.”                                                                                     In loving memory of Pinto Bean


                                                                                                           (https://dailyillini.com/life_and_culture-

Many of the Illini, despite their personal opinions on the Chief, said that                                stories/2022/10/17/pinto-bean-uiuc/)

they realize that the NCAA ruling will greatly influence Illinois’ Division
of Intercollegiate Athletics and the University.

“It looks like he’s going to go, so we might as well get it over with,” said
Illinois sophomore Brandon Davis. “It’s a losing battle so we might as
well get rid of him so that we can host.”

Although the tennis team realizes that many people connected with the
University have a vested interest in the Chief, it knows that the debate
may not end anytime soon.

“The loyalty surrounding the Chief has so much relevance,” Jones said.
“It is a mascot that is very apparent at athletic events – but, it is a                                      (https://www.facebook.com/events/2653891891408527)

University-wide issue that I just wish that would get resolved.”

Board of Trustees chair Lawrence Eppley said on April 28 that the
University will review its options because the ruling will impact all of                                      starcourseuiuc
Illinois athletics and the NCAA was very clear in its ruling against the                                          Follow
Chief.                                                                                                        THREE DAYS ‘til showtime!!! Ocean Child is opening for SALE
                                                                                                              @wearenotsales @oceanmarco…

Illinois assistant coach Kent Kinnear said he felt the Illini’s hard work                                                                               AN HOUR AGO

this season should have been rewarded.                                                                                                                    


“The guys have worked hard all year,” Kinnear said. “It would be a nice
reward to host Regionals.”

 https://dailyillini.com/sports-stories/2006/05/09/ruling-sends-team-packing/#                                                                                  3/5


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Illinois is the highest-ranked team that will not be able to host the first
two rounds of NCAA competition. Louisville has never hosted the NCAA
Regional Championships. Instead, the Cardinals have opened
competition at Illinois for the last two years.

“We got very lucky,” said Louisville head coach Rex Ecarma in a press
release. “When I saw the TV screen say Louisville (first round), Louisville
(second round) and Stanford . I thought that this was exactly what we
have been hoping for.”

Although the Illini could not host the event, Illinois head coach Brad
Dancer said that he and the rest of the NCAA Championship Committee
worked hard to ensure the integrity of the draw.

Dancer does not know exactly how the decision over who would be the
host for the event was made, since coaches are required to leave
discussions when their regional is being discussed.

“We’re not excited about going to Louisville,” Dancer said. “But we’re
going to do the best we can.”

Despite the current debate surrounding the Chief and his team, Dancer
said Illinois is focused on its first-round match against Western Illinois
on Friday at 10 a.m.

“We just have to deal with it,” Davis said. “We have to go out there, win
all six of our matches and then (not hosting) won’t matter.”

Focused on winning one match at a time and rebounding from their
most recent loss against Ohio State in the finals of the Big Ten
Tournament Championships, the Illini are confident that the four-hour
journey to Louisville will be well worth their time.

“We’ve definitely proven that we can win on the road and are capable of
winning on the road,” Dabir said. “We’re going to kill them. We’re going
to go out there and start some destruction.”

The Illini said they expect that quite a few fans will make the trip to
Louisville to watch the team compete.

“The fans are the team,” Dancer said. “We had 1,000 people there when
we beat Virginia. We need our crazy fans.”

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  Marc Spicijaric is the only freshman on the Illinois team. This will be his
  first experience at the Regional Championships. He believes that the
  team will perform well.

  “This is what we have been training for,” Spicijaric said. “This has been
  our goal all year.”
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